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                                 UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF CALIFORNIA


BOSTON SCIENTIFIC CORPORATION,                 No. 3:19-cv-05645-VC
BOSTON SCIENTIFIC SCIMED, INC.
AND FORTIS ADVISORS LLC,                       (Related Case No. 3:20-cv-02829-VC)

                   Plaintiffs,                 REQUEST FOR JUDICIAL NOTICE

       v.

BIOCARDIA, INC.,                               Date:    December 3, 2020
                                               Time:    10:00 a.m.
                   Defendant.                  Ctrm:    3, 17th Floor
                                               Judge:   Hon. Vince Chhabria



BIOCARDIA, INC.,
                   Counterclaimant,

v.

BOSTON SCIENTIFIC CORPORATION,
BOSTON SCIENTIFIC SCIMED, INC.
FORTIS ADVISORS LLC, AND SURBHI
SARNA,

                   Counterdefendants.




                                                                  REQUEST FOR JUDICIAL NOTICE
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TO THE COURT, ALL PARTIES AND COUNSEL OF RECORD:

       Pursuant to Federal Rule of Evidence 201 and relevant case law regarding judicial notice,

it is hereby requested the Court to take judicial notice of the following facts:



CareDx, Inc.

       1.       On December 21, 1998, a Certificate of Incorporation of Hippocratic Engineering,

Inc. was filed with the Secretary of State for the State of Delaware. (Ex. C at 000208.)

       2.       On April 23, 1999, a Certificate of Amendment to the Amended and Restated

Certificate of Incorporation of Hippocratic Engineering, Inc. was filed with the Secretary of State

for the State of Delaware setting forth the following amendment: “The name of the corporation is

BioCardia, Inc.” (Ex. C at 000224.)

       3.       On June 18, 2002, an Amended and Restated Certificate of Incorporation of

BioCardia, Inc. was filed with the Secretary of State for the State of Delaware setting forth the

following amendment: “The name of the corporation is Expression Diagnostics, Inc.” (Ex. C at

000241.)

       4.       On August 30, 2007, a Certificate of Amendment of Amended and Restated

Certificate of Incorporation of Expression Diagnostics, Inc. was filed with the Secretary of State

for the State of Delaware setting forth the following amendment: “The name of the corporation is

XDx, Inc.” (Ex. C at 000357.)

       5.       On March 24, 2014, a Certificate of Amendment of the Certificate of

Incorporation of XDx, Inc. was filed with the Secretary of State for the State of Delaware setting

forth the following amendment: “The name of the Corporation shall be CareDx, Inc.” (Ex. C at

000422.)

       6.       CareDx, Inc. is an active Delaware corporation. (Ex. F.)



BioCardia Lifesciences, Inc.
       7.       On March 1, 2002, a Certificate of Incorporation of BioCardia DeviceCo, Inc.


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was filed with the Secretary of State for the State of Delaware. (Ex. B at 000059.)

       8.       On August 9, 2002, a Certificate of Amendment of the Certificate of

Incorporation of BioCardia DeviceCo, Inc. was filed with the Secretary of state for the State of

Delaware setting forth the following amendment: “The name of the corporation is ‘BioCardia,

Inc.’” (Ex. B at 000074.)

       9.       On October 24, 2016, a Certificate of Merger of Icicle Acquisition Corp. With

And Into BioCardia, Inc. was filed with the Secretary of State for the State of Delaware setting

forth that the surviving corporation of the merger is BioCardia, Inc. and the Certificate of

Incorporation of the surviving corporation shall be amended and restated as follows: “The name
of this corporation shall be BioCardia Lifesciences, Inc.” (Ex. B at 000203, 000206.)

       10.      BioCardia Lifesciences, Inc. is an active Delaware corporation. (Ex. G.)



BioCardia, Inc.

       11.      On January 12, 1994, a Certificate of Incorporation of NAM Corporation was

filed with the Secretary of State for the State of Delaware. (Ex. A at 000001.)

       12.      On June 15, 2000, a Certificate of Amendment of Certificate of Incorporation of

NAM Corporation was filed with the Secretary of State for the State of Delaware setting forth

the following amendment: “The name of the Corporation is clickNsettle.com, Inc.” (Ex. A at

000029.)

       13.      On October 22, 2008, a Certificate of Amendment of Amended and Restated

Certificate of Incorporation of clickNsettle.com, Inc. was filed with the Secretary of State for the

State of Delaware setting forth the following amendment: “The name of the corporation is Cardo

Medical, Inc.” (Ex. A at 000041.)

       14.      On June 10, 2011, a Certificate of Amendment to Amended and Restated

Certificate of Incorporation of Cardo Medical, Inc. was filed with the Secretary of State for the

State of Delaware setting forth the following amendment: “The name of the corporation is Tiger

X Medical, Inc.” (Ex. A at 000042.)


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       15.     On October 24, 2016, a Certificate of Amendment to Amended and Restated

Certificate of Incorporation of Tiger X Medical, Inc. was filed with the Secretary of State for the

State of Delaware setting forth the following amendment: “The name of the Corporation is

BioCardia, Inc.” This amendment was stated to be effective as of 1:00 am Eastern Time on

October 26, 2016. (Ex. A at 000044.)

       16.     The most recent Form 10-Q filed by BioCardia, Inc. with the United States

Securities and Exchange Commission (“SEC”) identifies BioCardia Lifesciences, Inc. as a

wholly owned subsidiary of BioCardia, Inc. (Ex. I, pg. 12 under (8) Note payable under

Paycheck Protection Program.)


Peter Altman

       17.     Dr. Peter Altman’s “BioCardia, Inc. Employment, Confidential Information and

Invention Assignment Agreement” is dated July 17, 1999. (Ex. D.)



Simon Stertzer

       18.     Dr. Simon Stertzer’s “Agreement for Scientific Advisor Services” with

Hippocratic Engineering states it was made effective December 4, 1998. (Ex. E.)



                                         DOCUMENTS

       19.     The Secretary of State for the State of Delaware records for the corporation

“BioCardia, Inc.” [Exhibit A to the concurrently filed Declaration of Jessica N. Leal (“Leal

Decl.”)]

       20.     The Secretary of State for the State of Delaware records for the corporation

“BioCardia Lifesciences, Inc.” [Exhibit B to the Leal Decl.]

       21.     The Secretary of State for the State of Delaware records for the corporation

“CareDx, Inc.” [Exhibit C to the Leal Decl.]




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         22.   Peter Altman’s July 1999 employment agreement referenced in paragraphs 108

and 109 of BioCardia’s counterclaim that was produced by the counterclaimant BioCardia, Inc.

with Bates Nos. BC-BSC_0016550-16560 [Exhibit D to the Leal Decl.]

         23.   Simon Stertzer’s “Agreement for Scientific Advisor Services” referenced in

paragraph 107 of BioCardia’s counterclaim that was produced by the counterclaimant BioCardia,

Inc. with Bates Nos. BC-BSC_0015656-15661 [Exhibit E to the Leal Decl.]

         24.   CareDx, Inc.’s status with the State of Delaware [Exhibit F to the Leal Decl.]

         25.   BioCardia Lifesciences, Inc.’s status with the State of Delaware [Exhibit G to the

Leal Decl.]
         26.   The Agreement and Plan of Merger by and among Tiger X Medical, Inc.,

BioCardia, Inc., Icicle Acquisition Corp., and Jay Moyes, as the Company Representative and

Steven Rubin, as the Parent Representative, dated as of August 22, 2016 [Exhibit H to the Leal

Decl.]

         27.   BioCardia, Inc.’s August 13, 2020 Form 10-Q filing with the United States

Securities and Exchange Commission [Exhibit I to the Leal Decl.]

         28.   BioCardia, Inc.’s April 9, 2020 Form 10-K filing with the United States Securities

and Exchange Commission [Exhibit J to the Leal Decl.]

         29.   U.S. Patent Application No. 11/016,448, filed December 17, 2004, published on
June 22, 2006 as US 2006/0135961 [Exhibit K to the Leal Decl.]

         30.   U.S. Patent Application No. 11/295,412, filed December 6, 2005, published on

April 20, 2006 as US 2006/0084943 [Exhibit L to the Leal Decl.]

         31.   U.S. Patent Application No. 12/177,338, filed July 22, 2008, published on

November 20, 2008 as US 2008/0287918 [Exhibit M to the Leal Decl.]

         32.   U.S. Patent No. 9,173,571 (issued November 3, 2015) [Exhibit N to the Leal

Decl.]

         33.   U.S. Patent No. 10,610,149 (issued April 7, 2020) [Exhibit O to the Leal Decl.]

         34.   U.S. Patent No. 10,639,016 (issued May 5, 2020) [Exhibit P to the Leal Decl.]


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       35.      U.S. Patent No. 10,646,209 (issued May 12, 2020) [Exhibit Q to the Leal Decl.]

       36.      The March 2010 published article “The Origin and Pathogenesis of Epithelial

Ovarian Cancer: A Proposed Unifying Theory” by Robert J. Kurman, MD and Ie-Ming Shih,

MD, PhD [Exhibit R to the Leal Decl.]

       According to Federal Rule of Evidence 201, a court “may judicially notice a fact that is

not subject to reasonable dispute because it: (1) is generally known within the trial court’s

territorial jurisdiction; or (2) can be accurately and readily determined from sources who

accuracy cannot reasonably be questioned.” Fed. R. Evid. 201(b). A court “must take judicial

notice if a party requests it and the court is supplied with the necessary information.” Fed. R.
Evid. 201(c).

       The above facts and attached records are a proper subject of judicial notice. See, e.g.,

Saponjic v. BMW of N. Am., LLC, Case No. 20-cv-703-BAS, 2020 U.S. Dist. LEXIS 125425, *4-

5 (S.D. Cal. July 15, 2020); Certain Underwriters at Lloyds v. Kleinberg & Lerner, Case No. 19-

cv-10143-PSG, 2020 U.S. Dist. LEXIS 123168, *10-11 (C.D. Cal. April 3, 2020); Skogebo v.

Cofiroute United States, LLC, Case No. 19-cv-00739-AG, 2019 U.S. Dist. LEXIS 215648, *2-3,

2019 WL 6711701 (C.D. Cal. October 24, 2019); Alabsi v. Savoya, LLC, Case No. 18-cv-06510-

KAW, 2019 U.S. Dist. LEXIS 49675, *12, 2019 WL 1332191 (N.D. Cal. March 25, 2019);

Davis v. Cavy, Case No. 17-cv-7324-RSWL, 2017 U.S. Dist. LEXIS 168391, *1 (C.D. Cal.
October 10, 2017); Boeing Co. v. KB Yuzhnoye, Case No. CV 13-00730-AB, 2016 U.S. Dist.

LEXIS 63630, *39 (C.D. Cal. May 13, 2016); Koop v. AMCO Ins. Co., Case No. 16-cv-01963-

LB, 2016 U.S. Dist. LEXIS 83258, *6 (N.D. Cal. June 27, 2016); Cummings v. Koninklijke

Philips Elecs., Case No. C 02-2121SI, 2002 U.S. Dist. LEXIS 23383, *11 (N.D. Cal. Nov. 25,

2002); Mullin v. Wells Fargo Bank, N.A. (In re Mullin), 2014 Bankr. LEXIS 4715, *6 (9th Cir.

2014); Hogan v. NW Trust Servs., Case No. 10-6028-HO, 2010 U.S. Dist. LEXIS 45612, *9,

2010 WL 1872945 (D. Or. May 6, 2010); Soto v. Diakon Logistics (Delaware), Inc., Case No.

08-cv-33-L, 2009 U.S. Dist. LEXIS 20541, *7, 2009 WL 690178 (S.D. Cal. March 13, 2009).




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       The court may also take judicial notice of “documents whose contents are alleged in a

complaint and whose authenticity no party questions, but which are not physically attached to the

pleading.” See Branch v. Tunnell, 14 F.3d 449, 454 (9th Cir. 1994). See also Tellabs, Inc. v.

Makor Issues & Rights, Ltd., 551 U.S. 308, 322 (2007) (the court may consider documents

incorporated into the complaint by reference and matters of which a court may take judicial

notice).


Dated: September 24, 2020                                    ROBERT E. FREITAS
                                                              JESSICA N. LEAL
                                                          FREITAS & WEINBERG LLP


                                                                /s/Jessica N. Leal
                                                                   Jessica N. Leal
                                                          Attorneys for Counterdefendant
                                                                    Surbhi Sarna




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